   Case 21-04729                Doc 28          Filed 04/13/21 Entered 04/13/21 10:47:25                                    Desc Main
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